Case: 1:10-cv-06162 Document #: 272 Filed: 12/01/11 Page 1 of 6 PageID #:4003
Case: 1:10-cv-06162 Document #: 272 Filed: 12/01/11 Page 2 of 6 PageID #:4004
Case: 1:10-cv-06162 Document #: 272 Filed: 12/01/11 Page 3 of 6 PageID #:4005
Case: 1:10-cv-06162 Document #: 272 Filed: 12/01/11 Page 4 of 6 PageID #:4006
Case: 1:10-cv-06162 Document #: 272 Filed: 12/01/11 Page 5 of 6 PageID #:4007
Case: 1:10-cv-06162 Document #: 272 Filed: 12/01/11 Page 6 of 6 PageID #:4008
